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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                              BOWLING GREEN DIVISION
                     CRIMINAL ACTION NO. 1:09-CR-00026-TBR-HBB-23


  BRICESON WALKUP                                                      MOVANT/DEFENDANT

  v.

  UNITED STATES OF AMERICA                                          RESPONDENT/PLAINTIFF

                                     OPINION AND ORDER

         This matter is before the Court on Movant/Defendant Briceson Walkup’s pro se Motion

  to Vacate his sentence pursuant to 28 U.S.C. § 2255 [DN 1518] and the Magistrate Judge’s

  Findings of Fact, Conclusions of Law and Recommendation in which he recommends that the

  Motion to Vacate be denied. [DN 1527.] The Movant/Defendant filed no objections to the

  Magistrate Judge’s report, and the time to do so has passed.

         Generally, the Court must make a de novo determination of those portions of a Magistrate

  Judge’s recommended disposition to which objections are filed. 28 U.S.C. § 636(b)(1)(c).

  However, when no objections are entered, the Court need not “review . . . a magistrate’s factual

  or legal conclusions, under a de novo or any other standard.” Thomas v. Arn, 474 U.S. 140, 150

  (1985). Furthermore, parties who fail to object to a Magistrate Judge’s report and

  recommendation are barred from appealing a district court’s order adopting that report and

  recommendation. United States v. Walters, 638 F.2d 947 (6th Cir.1981).

         These principles notwithstanding, the Court has examined the record and the Magistrate

  Judge’s recommended disposition and agrees that the Magistrate Judge’s analysis is sound.

  Therefore, the Court being sufficiently advised, IT IS HEREBY ORDERED AND ADJUDGED

  as follows:



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        1. The Court ADOPTS the Findings of Fact and Conclusions of Law as set forth in the

           report submitted by the United States Magistrate Judge. [DN 1527.]

        2. Movant/Defendant’s Motion to Vacate under 28 U.S.C. § 2255 [DN 1518] is DENIED.

        3. A     Certificate   of   Appealability   is       DENIED    as   to       all   claims   asserted   in

           Movant/Defendant’s Motion to Vacate.

        This is a final judgment, and the matter is hereby stricken from the active Docket of the

        Court.




  cc:

  Briceson Walkup, pro se plaintiff                              November 15, 2016
  # 12051-033
  Federal Correctional Inst.
  P.O. Box 350
  Beaver, WV 25813

  and

  Counsel




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